                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:21-CV-00012-RJC-DSC


 JOHN DOE BY AND THROUGH HIS                     )
 GUARDIAN AD LITEM PAIGE L.                      )
 PAHLKE AND JESSICA LONG                         )
                                                 )
                  Plaintiffs,                    )
                                                 )                     ORDER
 v.                                              )
                                                 )
 THE CHARLOTTE-MECKLENBURG                       )
 HOSPITAL AUTHORITY et al.,                      )
                                                 )
                 Defendants.                     )



       THIS MATTER is before the Court on “Plaintiffs’ Motion to Compel Discovery,” Doc.

22, “Defendants’ The Charlotte-Mecklenburg Hospital Authority and Atrium Health, Inc.’s

Motion for Protective Order,” Doc. 24, and “Defendant The Charlotte-Mecklenburg Hospital

Authority’s Motion to Compel,” Doc. 25, and the parties’ associated briefs and exhibits. See Docs.

23 and 26-31. These Motions have been referred to the undersigned Magistrate Judge pursuant to

28 U.S.C. §636(b)(1) and are now ripe for the Court’s consideration.


       Plaintiffs seek an order compelling Defendant Charlotte-Mecklenburg Hospital Authority

to fully and completely respond to Plaintiffs’ Interrogatory 5, Interrogatory 6, Interrogatory 7,

Interrogatory 14, Request for Production 1, Request for Production 3, Request for Production 4,

Request for Production 6, and Request for Production 8.


       For the reasons set forth in Plaintiffs’ Memorandum in Support, Doc. 23, and Reply, Doc.

28, the Motion to Compel is granted as detailed below.




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         Defendants Charlotte-Mecklenburg Hospital Authority and Atrium Health Inc. request that

the Court enter a protective order to cover certain information to be produced in this action that is

sensitive, confidential and/or proprietary.


         For the reasons set forth in Defendants’ Brief in Support, Doc. 24-1, and Reply, Doc. 30,

the Motion for Protective Order is granted as detailed below.


         Defendant Charlotte-Mecklenburg Hospital Authority seeks an order compelling Plaintiffs

to fully and completely respond to Defendant’s First Set of Interrogatories and Request for

Production of Documents. Specifically, Defendant asks that Plaintiff Long provide complete

responses to Request for Production of Documents Nos. 4 and 5 and Plaintiff Doe provide

complete responses to Requests for Production of Documents Nos. 4, 5 and 6. Defendant

acknowledges in its Reply, Doc. 31, that Plaintiffs supplemented their discovery responses with

regard to Requests for Production 4 and 5 and therefore, the Motion to Compel is moot with regard

to these matters.


         For the reasons set forth in Defendant’s Memorandum in Support, Doc. 25-1, and Reply,

Doc. 31, the Motion to Compel is granted with regard to Plaintiff Doe’s school records as detailed

below.


         IT IS THEREFORE ORDERED that:

         1. “Defendants’ The Charlotte-Mecklenburg Hospital Authority and Atrium Health Inc.’s

            Motion for Protective Order,” Doc. 24, is GRANTED. Within seven days of this

            Order, the parties shall submit a consent protective order or their competing orders.

         2. “Plaintiffs’ Motion to Compel Discovery,” Doc. 22, is GRANTED. Within twenty-

            one days of the entry of the Protective Order, the Charlotte-Mecklenburg Hospital




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   Authority shall fully respond to Plaintiffs’ discovery requests. If Defendant contends

   that it has fully responded to a discovery request, it must affirmatively state such

   compliance in a verified discovery response. In the event that Plaintiff contends any

   documents are subject to privilege, it shall produce a privilege log.

3. “Defendant The Charlotte-Mecklenburg Hospital Authority’s Motion to Compel,”

   Doc. 25, is MOOT with regard to the requested medical records and GRANTED as to

   Plaintiff Doe’s school records. Within twenty-one days of the entry of the Protective

   Order, Plaintiff Doe shall fully respond to Defendant Charlotte-Mecklenburg Hospital

   Authority’s Request for Production No. 6.

4. The parties will bear their own costs at this time.

5. The Clerk is directed to send copies of this Order to counsel for the parties and to the

   Honorable Robert J. Conrad, Jr.


SO ORDERED.
                               Signed: November 16, 2021




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